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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

A. SCHULMAN, INC.,                        )
                                          )
     Plaintiff and Counter-Defendant,     )   Case No. 1:15 CV 1760
                                          )
     v.                                   )   Judge Patricia A. Gaughan
                                          )
POLYONE CORPORATION and                   )
POLYONE DESIGNED STRUCTURES               )
AND SOLUTIONS LLC                         )
                                          )
     Defendants and Counter-Plaintiffs.   )
                                          )




   OPENING CLAIM CONSTRUCTION BRIEF BY DEFENDANTS POLYONE
CORPORATION AND POLYONE DESIGNED STRUCTURES AND SOLUTIONS LLC
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I.     Introduction

       The claims in U.S. Patent Nos. 8,007,902 and 8,182,906 ("the Asserted Patents") are

moving targets that refer to two separate tests that change depending on the measurement

techniques that are used. This conflicts with the basic idea that a patent has a public notice

function that needs to make clear to the world what is, and what is not, an infringement. With

the Asserted Patents, however, if you test one way, you get one result; if you test another, you

get a different result. Because the Asserted Patents fail to instruct how to do the tests, this lack

of certainty about the claims' scope renders them invalid.

       What is particularly troubling is that Plaintiff uses a reverse engineered claim

construction that it created after it conducted its infringement testing. It ran tests on the Accused

Products and got two sets of results. It then picked a construction from the set of results that

favored infringement while rejecting the results that did not. This is the antithesis of the patent

public notice function that informs the public such that competitors can avoid infringement.

       The parties agree that five claim limitations are at issue. Two of them – (1) the DOI and

(2) the Gravelometer limitations – require testing but the patents provide no guidance on how to

conduct the testing and interpret the results. A third limitation – (3) the Random Microstructure

limitation – is invalid because the patents provide no explanation about what this claim term

means. Tellingly, the United States Patent Examiner is struggling with these same issues and has

rejected similar claims from related continuing applications with the same specification and tests.

See, e.g. Michalek Decl., Ex. 1-2.

       The parties also dispute the meaning of the (4) Colored Polyolefin Layer and (5) Clear

Polyolefin Layer. PolyOne's proposed construction boils down logically to the fact that the color

layer has pigment and the clear layer does not. If it did, it would become a colored layer.
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II.     Background

        A.     Patents-In-Suit

        Plaintiff, A. Schulman, Inc. ("ASI"), asserts that Defendant PolyOne Corporation

and PolyOne Designed Structures and Solutions, LLC (collectively "PolyOne") have

infringed claims 1 and 36 of U.S. Patent No. 8,007,902 ("the '902 patent") (Doc. 54, ¶14)

and claims 1, 20, 39, 55, 77 of U.S. Patent No. 8,182,906 ("the '906 patent").1 Id. The '906

patent is a continuation of the '902 patent and both share the same specification.

        B.     The Accused Products

        "While a trial court should certainly not prejudge the ultimate infringement analysis by

construing claims with an aim to include or exclude an accused product or process, knowledge of

that product or process provides meaningful context for the first step of the infringement

analysis, claim construction." Wilson Sporting Goods Co. v. Hillerich & Bradsby Co., 442 F.3d

1322, 1326-27 (Fed. Cir. 2006). PolyOne's accused products are thermoplastic polyolefin

structures ("TPO")—the Extreme HG TPO and the Formalloy HG TPO, which can be called by

one important word: "Plastics."2

        PolyOne sold the accused products, Formalloy HG and Extreme HG, for more than a year

before the earliest filing date of the Asserted Patents rendering them invalid under Vanmoor v.

Wal-Mart Stores, Inc., 201 F.3d 1363 (Fed. Cir. 2000). The Formalloy HG brand of TPO,

suitable for use in many vehicle exterior and interior thermoformed parts, was introduced in

1998 and consists of a glossy polyolefin cap layer over a thermoplastic polyolefin base. The


1
  PolyOne and ASI are using a Joint Appendix ("JA") comprised of exhibits JX 1 through JX 9
and Bates numbered JA00001 through JA013885. The JA includes the Asserted Patents and
relevant related applications and file histories. PolyOne also submits separate Exhibits
supporting its claim construction position that are attached to the Declaration of Brian R.
Michalek that is filed simultaneously herewith ("Michalek Decl.").
2
  The Graduate (1967), Calder Willingham, et al. (DVD).
                                                 2
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Extreme HG TPO was first commercialized in 2006 and also consists of a glossy polyolefin cap

layer over a thermoplastic polyolefin base. In contrast, however, Plaintiff ASI does not

manufacture a TPO product covered by the claims of the Asserted Patents.3

III.     The Law on Claim Construction

         Claims are construed as a matter of law with the purpose of "determining the meaning

and scope of the patent claims asserted to be infringed." Markman v. Westview, Instrs., Inc., 52

F.3d 967, 976 (Fed. Cir. 1995) (en banc), affd, 517 U.S. 370 (1996). A claim construction

analysis "must begin and remain centered on the language of the claims themselves, for it is that

language that the patentee chose to use to 'particularly point[ ] out and distinctly claim[ ] the

subject matter which the patentee regards as his invention.'" Interactive Gift Express, Inc. v.

Compuserve, Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001), citing 35 U.S.C. §112, ¶2. Indeed, the

words of the claims themselves define the scope of the patented invention. Vitronics Corp. v.

Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996).

         In construing the claims, it is the intrinsic evidence—the claims, the specification, and the

prosecution history of the patents—that is "the most significant source of the legally operative

meaning of disputed claim language." Vitronics, 90 F.3d at 1582. In fact, the specification is

"the single best guide" to the meaning of a claim term. Vitronics, 90 F.3d at 1582. While the

Court may turn to extrinsic evidence, that is, any evidence "external to the patent and the

prosecution history, including expert and inventor testimony, dictionaries, and learned treatises,"

such evidence is "less significant that the intrinsic record." Phillips v. AWH Corporation, 415

F.3d 1303, 1317-18 (Fed. Cir. 2005) (internal citation omitted).

         "35 U.S.C. § 112, ¶ 2 requires that the specification of a patent conclude with one or
3
 At one point prior to this lawsuit, ASI claims to have manufactured an "Invision" TPO product
covered by claims of the Asserted Patents. It no longer does so. Michalek Decl., Ex. 14, p. 8,
¶25.
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A gravelometer is a machine used to subject test samples such as automotive bumpers and

quarter panels to damage caused from the impact of gravel. The test samples are mounted to the

back of the gravelometer machine and gravel is projected at the sample by an air blast. A

technician will then visually evaluate the damage of the tested sample and subjectively assign a

rating score of zero to ten for the tested sample.

       "Whether a claim reasonably apprises those skilled in the art of its scope is a question of

law…." Microprocessor Enhancement Corp. v. Texas Instruments Inc., 520 F.3d 1367, 1374

(Fed. Cir. 2008). And "[a] determination of claim indefiniteness is a legal conclusion that is

drawn from the court's performance of its duty as the construer of patent claims." Personalized

Media Commc'ns, LLC v. Int'l Trade Comm'n, 161 F.3d 696, 705 (Fed. Cir. 1998).

       The Gravelometer limitation is indefinite for failing to provide a claim scope with a

"reasonable certainty." See Nautilus Inc., 134 S.Ct. at 2124 (2014); 35 U.S.C. §112, ¶2 ("The

specification shall conclude with one or more claims particularly pointing out and distinctly

claiming the subject matter which the applicant regards as his invention."). This uncertainty

results from the claim limitation requiring passing a test, but not providing any test evaluation

criteria. Without any guidance, intrinsic or otherwise, the Gravelometer claim scope changes

based on the subjective evaluation criteria the tester decides to use.

       In the alternative, to the extent the Court can construe the Gravelometer limitation,

PolyOne requests the Court adopt PolyOne's substitute construction that includes all damage for

evaluation purposes; not just only certain types of damage.




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       A.      The GM9508P Gravelometer Claim Limitation is Indefinite Under 35 U.S.C.
               §112, ¶2

               1.      The Asserted Patents and the GM9508P Standard Do Not Disclose
                       Any Damage Criteria For Evaluating Plastic TPO Products

       The Gravelometer limitation is indefinite because there is no certainty about what type of

damage to use for evaluation. The claimed GM9508P standard was designed to measure

chipping of painted coatings on metal.4 Michalek Decl., Ex. 4, p. 1. The Asserted Patents are

directed to plastics. JX 1, JA000007, Col. 3, ll. 32-34.5 The disconnect between "coatings" and

"plastics" causes this claim uncertainty because a gravelometer test affects these particular

surfaces differently. When applied to coatings, the gravelometer causes the paint coating to chip

and fall off the metal. When applied to plastics, however, it causes other types of damage such

as scuffing and marring. This was explained by Douglas Leggat of Ghesquiere Plastics Testing,

Inc. ("GPT") whom ASI engaged to conduct its gravelometer tests: "You know, a paint will chip.

You have clear chip, and you can see the substrate or the primer. Plastics tend more to mar or

just get displaced. They don't chip like a paint would. So by necessity, you have to evaluate

them differently." Michalek Decl., Ex. 3, GPT Tr. 19:4-10.

       The bald application of the GM9508P standard to TPO plastic products generates the

question—what damage criteria should be used for TPOs? The GM9508P chipping standard

was not designed to evaluate TPO plastic parts with molded-in-color since accordingly to Mr.

Leggat, TPOs "don't chip like a paint would." Michalek Decl., Ex. 3, GPT Tr. 19:7-8.

Accordingly, evaluating TPOs for chipping would essentially be a non-test—nothing would chip.



4
  Other different gravelometer standards also exist such as the ASTM D3170 or SAE J400
standards.
5
  The Asserted Patents U.S. 8,007,902 and U.S. 8,182,906 and pending Application Nos.
14/841,011 and 15/005,119 all share the same specification. For consistency, PolyOne cites to
the specification of U.S. 8,007,902 which is JX 1 in the Joint Appendix (JA000001-20).
                                                 6
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       General Motors explicitly recognized that its GM9508P standard should not be applied to

TPOs. When the GM9508P standard was superseded by the GMW14700 standard, General

Motors specifically explained that:

       "If this standard is used on uncoated panels (e.g., molded-in-color (MIC)
       plastic), alternate evaluation and rating procedures will be required." Michalek
       Decl., Ex. 9, p. 1, ¶1.1.

ASI's own produced documents from General Motors confirm the inapplicability of the

gravelometer test to TPOs:

       "Not all panels have a stone chip rating as some do not have a coating to chip (ie.
       MIC)." Michalek Decl., Ex. 5, A003378.
       …
       "Mold in Color: There was no good method for determining the number of chips,
       since the color goes throughout the substrate. Id., A003377.
       …
       "For MIC applications all materials will scuff and damage." Id., A003378.

The Asserted Patents, however, are silent about which evaluation criteria should be used for TPO

materials. And the GM9508P standard itself explains that when testing non-coatings, a separate

set of evaluation criteria must be specifically defined:

       "When test panels are used to evaluate a new substrate material or coating
       system, the panel preparation shall be defined by the engineer requesting the
       evaluation." Michalek Decl., Ex. 4, p. 2, ¶5.2.2 (emphasis added).

ASI's own expert, Dr. Baghdachi, also agrees that different evaluation criteria must be selected

when testing new substrate materials such as TPOs. Michalek Decl., Ex. 10, p. 2, ¶5. Similarly,

ASI's testing laboratory, GPT, agrees that the customer must define the evaluation criteria for

TPO products when applying the GM9508P standard:

       Q. So how do you determine which you include, marring or tearing or whatever?
       A. By consultation with the customer. Michalek Decl., Ex. 3, GPT Tr. 19:17-18.

Because of this, the gravelometer claim scope is based on the selection of the user; not the

teachings of the patent.

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       This claim uncertainty is heightened by there being no instruction in the industry. ASI's

testing laboratory, GPT, explained that even after searching, it found no guidance as to how to

conduct the gravelometer test on TPOs:

       Q. So it's up to the customer to decide?
       A. In this instance, it has to be because you're deviating, really, from the intent of
       the test [GM9508P] method.
        Q. Is there any written guidance that you're aware of as to –
       A. No. And I've looked.
       Q. I'm sorry. You said no?
       A. No, right. There was no written guidance.
       …
       Q. You've looked thoroughly?
       A. We have, yes. Michalek Decl., Ex. 3, GPT Tr. 19:19-20:11.

Because there is no industry guidance to lean on, customer guidance can differ to fit the

circumstances. Menna Decl.,6 Ex. A, p. 8, ¶12o. For example, in the automotive industry,

different vehicle locations can have different rating requirements depending upon their defined

"appearance zone." Id. If a vehicle surface is highly visible to the end user, such as the front

grill and side panels of a vehicle, then it may have higher rating requirements that include all

damage. If the surface is in a low visibility location, then it may have lower rating requirements

that counts only limited damage. It is really up to the customer to decide. Id.

       GPT's gravelometer testing typifies this uncertainty. ASI engaged GPT to test the

allegedly infringing products. Michalek Decl., Ex. 11, GPT000094. When GPT did so, it first

counted "marring" as part of the GM9508P evaluation criteria, and it scored the accused products

with failing "2s" and "3s" when ASI and the claims required a 7 to pass. Michalek Decl., Ex. 12,

p. 5. When ASI learned of the failed scores, it rewrote the scoring criteria to exclude marring

and to only consider chipping to raise the scores as shown in Ex. 11, GPT000113 below:

6
  The Declaration of expert Dr. Todd Menna ("Menna Decl.") filed simultaneously herewith
includes as Exhibit A Dr. Menna's L.P.R. 4.3(a) Expert Declaration in Support of PolyOne's
Proposed Claim Construction.
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After finding out that "marring" resulted in scores of 2s and 3s, Douglas Leggat of GPT (the

"DL" initials in Ex. 11 above) was told "per Fred [Galle]" (also identified above), ASI's Business

Manager of Polytrope STR Products, to ignore marring as well as other surface damage:

       A. We were told, and it's written in some of your notes there, my handwriting,
       that we were to ignore marring in the evaluation." Michalek Decl., Ex. 3, GPT
       Tr. 20:23-25.
       …
       Q… Now, what was the criteria that was used to determine whether something
       was a GM7 or otherwise?
       A. The same as previously, whether it's cut, broken, or what have you, those
       things, mars were ignored.
       Q. Dents were ignored?
       A. Again, dents were ignored. Same as the previous time. Id., 57:9-17.
       …
       A. … So after consultation with them [ASI], they decided do not report the
       marring. Id., 33:21-25.
In short, ASI reverse engineered its claim construction to only include damage criteria to get a

result to support its infringement theory.7 As a result of this selectivity, the scores of the exact


7
 ASI admits that scores of GM2s and GM3s would not pass the Gravelometer limitation.
Michalek Decl., Ex. 12, p. 5.
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same products were raised from 2s and 3s to GM7s. Michalek Decl., Ex. 11, GPT000113. This

selectivity is not insubstantial as shown by the dramatic differences in the GM9508P official

visual scoring criteria for a "GM3" (left) and a "GM7" (right) that are produced below:




* The size for the GM9508P scoring criteria above has been reduced to fit this page. A full-size
version, of the GM9508P scoring criteria is produced in Michalek Decl., Ex. 4

       Accordingly, the scoring for the GM9508P test is hitched to the whim of the customer's

defined metrics; not the patents' teaching. As Mr. Leggat testified: "…You have to somehow

decide, all right, I'm going to include all marring as a chip, you know, as a, quote, chip, or it's

only going to be when there's, in fact, a tear in the substrate or whatever. You have to come to

sort of agreement with your customer about how you're going to evaluate things." Michalek

Decl., Ex. 3, GPT Tr. 19:10-16. Given this evaluation uncertainty, the Gravelometer limitation

is indefinite and renders the claims invalid.


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               2.      The Gravelometer Limitation is Indefinite as the Asserted Patents
                       Modify the GM9508P Standard But Provide No Guidance on How To
                       Make the Modification

       GM9508P sets forth a detailed protocol for using 1 pint of gravel in the gravelometer.

Michalek Decl., Ex. 4, p. 2, ¶5.3.3, ¶5.3.6. The protocol provides specific requirements for

maintaining pressure and temperature within the gravelometer system. Id., ¶5.3.1, ¶5.3.2.

Pursuant to GM9508P, the gravelometer air pressure must remain set at 70 psi. Id., ¶5.3.2. And

the test samples must be conditioned at -30º C for 4 hours prior to testing. Id., ¶5.3.1. Deviation

from these requirements can affect test consistency and results. Menna Decl., Ex. A, p. 7, ¶12m.

       The asserted claims modify this protocol. Instead of 1 pint, the claims require 10 pints of

gravel. See, e.g. JX 1, JA000019, Col. 27, ll. 37-39. This modification creates uncertainty about

how to conduct the test while maintaining the strict system pressure and temperature

requirements. As admitted by ASI, the patents give no explanation on how to run the modified

GM9508P test. Michalek Decl., Ex. 17, Doc. 57, ¶¶110, 134 ("ASI admits that the [patent]

specification does not describe in ipsis verbis how to use a 10 pt load in GM9508P….").

       Without any intrinsic guidance, the test operator is left to guess on how to run the

modified test. Should the technician feed all 10 pints at once, or wait and feed 1 pint separately

10 times? This discretion can result in deviation from the pressure and temperature parameters

required by the standard and thereby affect testing results. Menna Decl., Ex. A, p. 7, ¶12m. For

example, the gravelometer uses air pressure to project gravel at the test sample. Under the

original protocol, the 1 pint of gravel is projected at 70 psi. Michalek Decl., Ex. 4, ¶5.3.2. With

the modification, however, the pressure will decrease if the operator feeds all 10 pints of gravel

at once. As Mr. Leggat explained: "A. … [Y]ou have to be between 70 plus or minus 2 psi

coming out of your compressor, and it's easy to drop below that. So you really can't do -- if you

tie two compressors together, you might be able to do two at a time, but it's unlikely." Michalek
                                                11
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Decl., Ex. 3, GPT Tr. 82:7-12. This reduced pressure will decrease the speed of the gravel and

result in less damage and inconsistent test results. Menna Decl., Ex. A, p. 7, ¶12m.

       Alternatively, the technician may decide to feed only 1 pint of gravel into the machine at

a time. While this will permit repressurization, this method also prolongs the test causing the

sample temperature to increase. The GM9508P standard specifically notes that "[a]ctual sample

temperature will increase during the test because of warm air flow." Michalek Decl., Ex. 4,

¶5.3.1. Accordingly, by projecting 1 pint of gravel, then waiting for the pressure to return to

normal, and projecting the next 1 pint of gravel, the sample temperature will increase thereby

affecting testing results. Menna Decl., Ex. A, p. 7, ¶12m.

       Accordingly, the claim's unexplained, modified GM9508 protocol renders the claim

indefinite by forcing the operator make a guess about how the gravel will be administered.

       B.      To the Extent the Gravelometer Limitation Can Be Construed, PolyOne's
               Substitute Construction Should Be Adopted

               1.      The Substitute Gravelometer Limitation Construction Should Include
                       All Damage As Evaluation Criteria

       To the extent this limitation can be construed, it must include all damage for evaluation

purposes including any "chipping, denting, cratering, cracking, marring, or other surface damage

of any kind imparted by the gravel to the surface." Michalek Decl., Ex. 13, pp. 2 and 8.

       ASI only wants to count some damage—chipping, cracking and delamination8—while

ignoring others. Michalek Decl., Ex. 12, p. 5. This ex post facto cherry picking, however,

sidesteps the Asserted Patents that specify a GM9508P damage evaluation scale from "fail" to

"no damage / no chipping" criteria (See JX 1, JA000017, Table 2, footnote; reproduced below):

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  ASI's proposed construction includes passing the GM9508P with a limited chipping scoring
system and having "no cracking or delamination." Michalek Decl., Ex. 12, p. 5. ASI's
construction includes the terms "no cracking or delamination" which appear nowhere in the
GM9508P standard. Thus, even ASI seeks to rewrite the GM9508P protocol beyond the
standard.
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                                 ………………………........

This scale indicates that while "chipping" is part of the analysis, other "damage"—including

denting, cratering, cracking, marring, or other surface damage must be considered as well for

evaluation purposes for a score of 10 to mean "no damage." JX 1, JA000017, Table 2, footnote.

       The Asserted Patents also explain that the claimed "structures display a 'class A' finish'

and meet a variety of requirements for durability and weatherability." JX 1, JA000001, Abstract.

Including all damage, not just some, is consistent with determining whether there is a Class A

finish and abiding by commercial appearance standards. Indeed, a car panel with no chips, but

riddled with scuffs, mars, and dents would fall far short of a "Class A finish." No one would

want to buy a car that has scuffs, mars, and dents.

       ASI's own documents confirm counting all damage. During discovery, ASI produced a

document entitled "Stone Impingement Study for Exterior Automotive Application." Michalek

Decl., Ex. 5, A003377-79. This study was presented by General Motors to ASI and explains that

all damage should be considered for TPO evaluation purposes:

       "Mold in Color: There was no good method for determining the number of chips,
       since the color goes throughout the substrate. These samples were evaluated for
       overall appearance (ie. scuff damage." Michalek Decl., Ex. 5, A003377
       (emphasis added).
       …

       "Not all panels have a stone chip rating as some do not have a coating to chip (ie.
       MIC)… The same scales were used, but each scuff was considered to be a chip."
       Id., A003378.

ASI's testing of PolyOne's sample products in this litigation demonstrates the real world

unworkability of ASI's pick-and-choose approach. Michalek Decl., Exhibit 7 (reproduced below

on the left) is a photograph of a PolyOne TPO sample that ASI subjected to gravelometer testing

next to the GM9508P example of a GM3 "Poor."


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As illustrated,9 the gravelometer test caused significant scuffing, marring, and other surface

damage consistent, at least, with a failing GM3 score. Using its selectively limited construction,

however, ASI ignored the majority of the damage and counted only what it called "chips."

Supra, Michalek Decl., Ex. 3, Tr. 20:23-25 and 57:9-17. This selectivity resulted in a passing

score to a product sample that clearly is not commercially presentable. You would not buy a car

that has the damage shown in Exhibit 7 above.

       Accordingly, to the extent the Gravelometer limitation can be construed, all damage must

be considered for evaluation purposes. This is captured in PolyOne's proposed substitute

construction that "passes a gravelometer impact test" should mean "obtaining a rating of 7 or

greater as determined by a visual comparison of the surface of a panel subjected to the test with

the photographic standards (Figures 1 through 8) of the GM9508P standard, where the visual
9
 The parties have requested claim construction oral argument, and PolyOne would like to
present the test samples so the Court can make a direct comparison.
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comparison accounts for any chipping, denting, cratering, cracking, marring, or other surface

damage of any kind imparted by the gravel to the surface." Michalek Decl., Ex. 13, p. 2, p. 8.

               2.     The Remaining Claim Portions for the Modified GM9508P Test
                      Should Be Construed so as to Maintain Testing Temperature and
                      Pressure Requirements

       The modification of the GM9508P test to include 10 pints of gravel instead of 1 pint

renders the claim indefinite. To the extent the Gravelometer limitation can be construed, it

should be done with instructions to maintain uniformity and consistency of the GM9508P

pressure and temperature requirements. Without such instructions for the modified test, both

PolyOne's and ASI's experts will not have a consistent protocol for testing the Accused Products.

       Accordingly, the term "10 pt [pint] load" should be construed such that the 10 pint load is

administered to the gravelometer test in a manner that minimizes the changes to pressure and

temperature. To do this, the 10 pints should be administered 1 pint at a time within 10 seconds

of removing the sample test panel from the conditioning freezer. This will reduce the time for

the test sample is exposed to the environment and help maintain the test sample at the required

−30º C. Michalek Decl., Ex. 4, ¶5.3.1. Additionally, the air pressure of the gravelometer

machine should be readjusted to 70 psi for each pint of gravel. Id., ¶5.3.2. These constructions

will maintain uniform testing approach and are consistent with the requirements of GM9508P.

       Similarly, the "at a −30° C. temperature" term should be construed to maintain the sample

at the −30° C. temperature. Id., ¶5.3.1. Since the "[a]ctual sample temperature will increase

during the test because of warm air flow" (id.), the sample should be conditioned or

reconditioned at -30 C for a minimum of 4 hours before feeding each pint of gravel. Id.




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explained that a claim is indefinite when there are multiple measuring methods, but the patent

does not state which to use. Dow Chem. Co. v. Nova Chemicals Corp. (Canada), 803 F.3d 620,

634 (Fed. Cir. 2015), cert. denied, 136 S. Ct. 2452, 195 L. Ed. 2d 264 (2016) (Court finding

claim term "a slope of strain hardening coefficient greater than or equal to 1.3" indefinite for

failure to set forth method of measurement); Teva Pharm. USA, Inc. v. Sandoz, Inc., 789 F.3d

1335, 1342-46 (Fed. Cir. 2015) (Court finding claim indefinite because there was no intrinsic

guidance as to which of three possible measurements to use to determine "molecular weight.");

see also Icon Health & Fitness, Inc. v. Polar Electro Oy, 656 F. App'x 1008, 1014 (Fed. Cir.

2016).

         Given this DOI ambiguity, the Asserted Patents do not inform the public as to which

evaluation methods or devices should be used to test these claim limitations. Without this

guidance, the claims scope fluctuates and is therefore indefinite under 35 U.S.C. §112, ¶2.

         A.     A DOI Value Can Vary Depending on Which Methodology and Devices Are
                Used for Calculation

         In its pleadings, "ASI admits that there are multiple methods for measuring DOI…."

Michalek Decl., Ex, 17, ¶¶99, 127. A claim, however, is indefinite when the patent does not

explain which of the many different measurement methodologies to use:

         "whether the existence of multiple methods leading to different results without
         guidance in the patent or the prosecution history as to which method should be
         used renders the claims indefinite…." Dow Chem. Co., 803 F.3d at 634.

Many DOI methodologies exist. The Patent Examiner has taken this position in a child patent

application no. 15/005,119 that is pending from the Asserted Patents. In this outstanding Office

Action, the Patent Examiner rejects the claims on these DOI indefiniteness grounds:

         "Claims 2-9, 11, 13-24, 30 and 32-39 are rejected under 35 U.S.C. 112(b) or 35
         U.S.C. 112 (pre-AIA), second paragraph, as being indefinite for failing to
         particularly point out and distinctly claim the subject matter which the inventor or
         a joint inventor, or for pre-AIA the applicant regards as the invention. Claims 2,
                                                  17
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          14, and 33 recite that the multilayer polymeric sheet or product has a " DOI of 70
          or greater"… however given that DOI, like gloss, is a relative property based
          upon the method of measuring the DOI, the recitation of DOI without reciting the
          conditions under which the property is measured renders the claims indefinite."11
          Michalek Decl., Ex. 1, p. 11.

The Examiner's position is consistent with the industry. For example, the ASTM D 5767-95 is a

DOI standard entitled "Standard Test Methods for Instrumental Measurement of Distinctness-of-

Image Gloss of Coating Surfaces." It sets forth different DOI testing methodologies, but

explains that "[t]he scale values obtained from the alternative methods cited do not agree."

Michalek Decl., Ex. 7, p. 1. In other words, a "70" DOI value acquired by one method will not

necessarily be a "70" value when using an alternative method. See Gosselin Decl., Ex. A, p. 4,

¶9; See, e.g. Baldwin Graphic Sys., Inc. v. Siebert, Inc., No. 03 C 7713, 2008 WL 4083145, at

*8–9 (N.D. Ill. Aug. 27, 2008) ("The first calculation may result in a product that infringes on

the patent, while the second may not. Which is correct? From the claims, specification and

preferred embodiment we cannot say… The devil is in the details, and the details here expose the

claim as indefinite.").

          The ASTM D 5767-95 gives three examples of different DOI methods that each involves

different apparatus, procedures, calculations, and can provide different results. Michalek Decl.,

Ex. 7, p. 1, ¶1.2. The Goniometric Method is a method of measuring DOI using a narrow

aperture for a light source. Gosselin Decl., Ex. A, pp. 4-5, ¶¶10-13; Michalek Decl., Ex. 7, pp.

2-3, ¶¶7-13). The Optical Profilometer method involves measuring DOI by using an "Image

Clarity Meter." Gosselin Decl., Ex. A, p. 5, ¶14; Michalek Decl., Ex. 7, p. 3, ¶14.1. The Visual

Inspection Method involves a subjective user evaluation of a projected pattern onto a sample

surface. Gosselin Decl., Ex. A, p.5, ¶15.



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     As of the date of this paper, ASI has not responded to this outstanding office action.
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       As set forth explicitly in the ASTM D 5767-95 standard "[t]he scale values obtained from

the alternative methods cited do not agree." Michalek Decl., Ex. 7, p. 1, ¶1.1. Or put more

simply, different methods can lead to different results. Gosselin Decl., Ex. A, p. 4, ¶9.

       The Federal Circuit decision in Dow Chem. Co. v. Nova Chemicals Corp. (Canada), 803

F.3d 620 (Fed. Cir. 2015) squarely addresses this issue involving multiple measurement

methods. In Dow Chem, the salient claim term was "a slope of strain hardening coefficient

greater than or equal to 1.3." Id. at 631 (emphasis added). The problem in Dow Chem. was the

same problem here— 1) that multiple methods existed to measure the claimed limitation, and 2)

the patent claims, specification, and the prosecution history provided no guidance as to which

method should be used. Dow Chem. Co., 803 F.3d at 633-634.

       Given this measurement uncertainty, Dow held that the claim was indefinite under the

Supreme Court's Nautilus standard because "[t]here is no question that each of these four

methods may produce different results, i.e., a different slope." Id. at 633. The same problem is

at issue here—namely that multiple DOI measurement methods exist; and the Asserted Patents

do not explain which to use. Accordingly, there is no guidance that informs a person of ordinary

skill what the scope of "a DOI of 70 or greater" is to a reasonable degree of certainty.

       B.      ASI's Proposed Construction Is an Attempt to Backfill and Rewrite the DOI
               Limitations

               1.      The Asserted Patents Provide No Reference to the GM 4348M
                       Standard or to Select It Over Several Other DOI Methodologies

       ASI's proffered construction is another reverse engineering of what it wishes the patent

said. The Asserted Patents make no mention of any DOI standard let alone the GM4348M

standard. Accordingly, there is no reason a person of ordinary skill would pick the GM4348M

standard out of a sea of several other DOI standards. In short, ASI attempts to improperly

rewrite its claim after-the-fact. See Helmsderfer v. Bobrick Washroom Equip., Inc., 527 F.3d

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1379, 1383–84 (Fed. Cir. 2008) ("Courts cannot rewrite claim language."); See K–2 Corp. v.

Salomon S.A., 191 F.3d 1356, 1364 (Fed.Cir.1999) ("Courts do not rewrite claims; instead, we

give effect to the terms chosen by the patentee."); Tex. Instruments, Inc. v. U.S. Int'l Trade

Comm'n, 988 F.2d 1165, 1171 (Fed.Cir.1993) ("[C]ourts can neither broaden nor narrow claims

to give the patentee something different than what he has set forth.") (internal quotes omitted).

        Other governing DOI testing protocols including ASTM D 5767–95, ASTM E430-11,

GM-9101P, GMW15777-2016 (superseding the GM 4348M) and GM Test Specification TM-

204-M exist. These standards set forth the use of different approved inspection devices and

testing protocols for measuring DOI on various auto body parts. Gosselin Decl., Ex. B, pp. 2-3,

¶8; See, e.g. Michalek Decl., Ex. 8.

        There are several other different automotive standards such as from Chrysler, Ford Motor

Company, Honda Motor Company, Mitsubishi, Nissan, Toyota and Mazda.12 Gosselin Decl.,

Ex. B, p. 3, ¶10. Following the methodologies and protocols of these different automotive DOI

standards can lead to different DOI results. Gosselin Decl., Ex. B, p. 4, ¶11. By way of

example, Dr. Gosselin described how both the Ford Motor Company's DOI standard and Mazda's

DOI standard differ in principle and results from the GM 4348M standard. Gosselin Decl., Ex.

B, pp. 4-6, ¶¶12-16).

        Given this assortment of DOI methods and standards leading to different calculations and

determinations, the DOI limitation is indefinite.

               2.       Even If ASI's Construction Is Adopted, the GM4348M Standard Sets
                        Forth Conflicting DOI Measurement Instruments and Methods

        Even if the GM 4348M was selected, it still sets forth use of four (4) different DOI

instruments that operate on different scientific principles:
12
  The Asserted Patents do not just reference General Motors standards, but also reference Honda
and Chrysler standards as well. JX 1, JA000016-17, Table 2.
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       In pending child Application no. 15/005,119 to the Asserted Patents, the Patent Examiner

has also rejected this exact term – "random microstructure"—on grounds of indefiniteness under

35 U.S.C. 112, ¶2:

       "Claim 19 recites the limitation 'wherein the thermoplastic polyolefin of the
       second polymeric layer has a random microstructure' however it is unclear as to
       what is meant by the term 'random microstructure' given that the specification
       does not clearly define what 'microstructure' is random nor what degree of order
       or randomness would meet the limitation for which the 'microstructure' is
       random." Michalek Decl., Ex. 1, p. 13, ¶14.

The Examiner correctly explains that the patents provide no explanation as to the degree of order

or randomness that would meet the limitation for which the "microstructure" could be considered

is "random." The polymer science adds confusion to this limitation as all polymers have some

degree of randomness at a microscopic level (e.g., random distribution of polymer chain length,

random distribution of monomer units within a chain of a copolymer, random distribution of

block lengths in block copolymers, random coiling of polymer chains, random distribution of

crystalline regions, random orientation of side chains as in an atactic polymer, etc.).

       Accordingly, there is no teaching from the Asserted Patents that would help distinguish a

polyolefin layer with a random microstructure from a polyolefin layer with a non-random

microstructure. ASI's proposed construction is again another improper redrafting. See

Helmsderfer, 527 F.3d at 1383–84 (Fed. Cir. 2008). Without any intrinsic support, ASI injects

brand new phraseology that actually confuses the matter.

       ASI's insert of "essentially non-repeating manner" add more questions than it answers.

For example, it is unclear how much of a "non-repeating manner" is necessary to count as

"essentially" in the construction. Other Courts have similarly struggled with construction of the

term "essentially." See Glaxo Grp. Ltd. v. Ranbaxy Pharm., Inc., 262 F.3d 1333, 1336 (Fed. Cir.

2001) (Court finding that "essentially" means "fundamentally"); Plastpro, Inc. v. Therma-Tru

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to mean 'receive' would render 'collection' entirely superfluous and allow any pressurized vessel

to constitute a 'pressurized collection vessel'"); See Merck & Co., 395 F.3d at 1372.

VIII. Conclusion

       The claims of the Asserted Patents are based on tests. And the results of these tests

fluctuate based on the test protocols that are used. The Asserted Patents, however, are silent as

to which protocols to use. ASI wants to use this silence to circumvent the patent rules by

running different test protocols, finding which ones favor its claim of infringement, and then

handpicking one for its claim construction while rejecting the rest.

       This is not how patents work. ASI's end-around flies in the face of the patent rules that

require claims to be "precise enough to afford clear notice of what is claimed" and to eliminate

the "zone of uncertainty which enterprise and experimentation may enter only at the risk of

infringement." Nautilus, 134 S.Ct. at 2129 (internal citations omitted).

       ASI's specification and nebulous test claims provide no such "clear notice." Id. No

person of ordinary skill in the art would be able to ascertain the scope of the claims with a

reasonable degree of certainty. Id. For these reasons, the Asserted Patents are invalid.

Dated: February 6, 2017                           Respectfully submitted,

                                                       /s/ Arne M. Olson
                                                  Arne M. Olson (admitted Pro Hac Vice)
                                                  Robert J. Ross (admitted Pro Hac Vice)
                                                  Brian R. Michalek (admitted Pro Hac Vice)
                                                  OLSON & CEPURITIS, LTD
                                                  20 N. Wacker Dr., Fl. 36
                                                  Chicago, IL 60606
                                                  (312) 580-1180
                                                  (312) 580-1189 (fax)
                                                  aolson@olsonip.com
                                                  rross@olsonip.com
                                                  bmichalek@olsonip.com

                                                  Kip T. Bollin              (0065275)

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                                     THOMPSON HINE LLP
                                     3900 Key Center
                                     127 Public Square
                                     Cleveland, OH 44114-1291
                                     (216) 566-5500
                                     (216) 566-5800 (fax)
                                     Kip.Bollin@ThompsonHine.com

                                     Attorneys for Defendants and Counter-Plaintiffs
                                     PolyOne Corporation and PolyOne Designed
                                     Structures and Solutions LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the forgoing document was served on February 6, 2017
upon the following counsel of record in the manner listed:

                             VIA ECF
                             Mark Skakun
                             Buckingham, Doolittle & Burroughs, LLC
                             4518 Fulton Drive NW, Suite 200
                             Canton, OH 44735-5548
                             mskakun@bdblaw.com

                             Eric C. Cohen
                             Mark H. Remus, Esq.
                             Oluwafemi L. Masha, Esq.
                             Jon H. Beaupre, Esq.
                             BRINKS GILSON & LIONE
                             NBC Tower - Suite 3600
                             455 N. Cityfront Plaza Drive
                             Chicago, Illinois 60611
                             eccohen@brinksgilson.com
                             mremus@brinksgilson.com
                             omasha@brinksgilson.com
                             jbeaupre@brinksgilson.com



                                                  /s/ Arne M. Olson
                                           One of the Attorneys for Defendants and
                                           Counter-Plaintiffs POLYONE CORPORATION
                                           and POLYONE DESIGNED STRUCTURES AND
                                           SOLUTIONS LLC
